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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,

Case No, GR 1 Y (j. MN 04 . “ DCN

INDICTMENT

Plaintiff,

VS.
18 U,S.C. § 2422(b)
VERN LEEROY MOORE, 18 U.S.C, § 2425
18 U.S.C. § 2428

 

Defendant.

 

The Grand Jury charges:
COUNT ONE

Attempted Coercion and Enticement
18 U.S.C. § 2422(b)

On or between November 23, 2019, and November 24, 2019, in the District of Idaho, the
defendant, VERN LEEROY MOORE, using the internet, a facility and means of interstate and
foreign commerce, did knowingly attempt to persuade, induce, entice and coerce a person he

believed to be a minor to engage in sexual activity for which any person can be charged with a

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criminal offense, to wit: Idaho Code § 18-1508, in violation of Title 18, United States Code,
Section 2422(b).
COUNT TWO

Attempted Use of Interstate Facilities to Transmit Information About a Minor
18 U.S.C, § 2425

On or between November 23, 2019, and November 24, 2019, in the District of Idaho, the
defendant, VERN LEEROY MOORE, using the internet, a facility and means of interstate and
foreign commerce, did knowingly attempt to initiate the transmission of the name, address,
telephone number, social security number and electronic mail address of another individual,
knowing that such individual had not attained the age of 16 years of age, with the intent to entice,
encourage, offer, and solicit any person to engage in sexual activity for which any person can be
charged with a criminal offense, to wit: Idaho Code § 18-1508, in violation of Title 18, United
States Code, Section 2425.

CRIMINAL FORFEITURE ALLEGATION

Transport for Illegal Sexual Activity Forfeiture
18 U.S.C § 2428

Upon conviction of the offenses alleged in Count One or Two of this Indictment, the
defendant, VERN LEEROY MOORE, shall forfeit to the United States his interest in (1) any
property, real or personal, used or intended to be used to commit or to facilitate the commission
of the foregoing offense; and (2) any property, real or personal, that constitutes or is derived
from proceeds traceable to such offense. The property to be forfeited includes, but is not limited
to, the following:

1. Seized Property.

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a An black LG V40 ThinQ cellular phone, Model LM-V405U, Serial
Number 902K PGSO0101055.
2, Substitute Assets. Pursuant to 21 U.S.C. § 853(p) and other applicable statutes,
the government will seek forfeiture of substitute assets, “or any other property of the defendant”
up to the value of the defendant’s assets subject to forfeiture. The government will do so when

the property subject to forfeiture cannot be forfeited for one or more of the following reasons:

a. Cannot be located upon the exercise of due diligence;

b. Has been transferred or sold to, or deposited with, a third person;

c, Has been placed beyond the jurisdiction of the court;

d, Has been substantially diminished in value; or

€, Has been commingled with other property which cannot be subdivided
without difficulty.

Dated this 10th day of December, 2019.

A TRUE BILL

/s/ [signature on reverse]

 

FOREPERSON

BART M. DAVIS
UNITED STATES ATTORNEY

K porns (Neg

KASSANDRA MCGRADY
ASSISTANT UNITED STATES RNEY

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